Case 1:04-cr-10061-.]DT Document 170 Filed 06/07/05 Page 1 of 2 Page|D 207

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IN THE UNITED sTATEs DISTRICT coURT P_¢… n 2’ 42
FoR THE WEsTERN DISTRICT oF TENNESSEE §§E:Fj;" 3 D, T
EASTERN DIVISIoN W 0 HB,F UT.§_ DBTRO&FTO
JAO<so/'v
UNITED sTATEs oF AMERICA
vs ca No. 1:04-10061-04-1"
LoRI ANN BUCKINGHAM
0RDER oN CHANGE oF PLEA

 

This cause came on to be heard on June 6, 2005, Assistant U. S. Attorney,
Victor Lee Ivy, appearing for the government, and the defendant appeared in person and with
counsel, A. Russell Larson, Who Was appointed

With leave of the Court, the defendant withdrew the Not Guilty Plea heretofore entered
and entered a plea of GUILTY as charged in Count 1 of the Indictment.

This case has been set for sentencing on Friday, September 2, 2005, at 9:00

The defendant is remanded to the custody of the United States Marshal.

IT IS SO ORDERED.

 

 

 

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 170 in
case 1:04-CR-10061 Was distributed by faX, mail, or direct printing on
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A. Russell Larson

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Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

